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                 EXHIBIT 2
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The State of Palestine
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Homepage > Service Directory > Renewal of allocations and financial settlements



        Renewal of allocations + Financial Settlements
The issuing entity:
The General Directorate for Prisoners and Ex-Prisoners
The beneficiary category:
Incarcerated and released prisoners
Website
Description of the Service
Renewal of allocations + Financial Settlements
Sites and branches at which the service is provided
   •   The headquarters of the Commission (Ramallah-Al-Bireh
       District) and branches (Ramallah - Jerusalem - Hebron -
       Bethlehem - Nablus - Jenin - Tul Karm - Qalqilyah - Salfit -
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      Tubas - Jericho), along with the branches in the southern
      districts (Gaza Strip)
Conditions for receiving the service
  •   1 - Renewal of allocations concerning incarcerated
      prisoners, including both government employees and
      those who are not government employees. Renewal of
      allocations will be done for each accredited security-
      related prisoner, and the renewal will be done every three
      months for incarcerated prisoners, and for those
      sentenced for a term near the release date – in
      accordance with the verdict relevant to the prisoner.
  •   2 - Financial arrangements concerning ex-prisoners. An
      assessment of the prisoner's financial situation will be
      done after he is released, and after the required
      documents are presented. After that, all of the financial
      allowances and unemployment benefits will be disbursed
      to the prisoner, and the settlement will be done for both
      government employees and those that are not
      government employees, all in accordance with the
      regulations and statutes.
Required documents
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                                                   Number of
Document                                           copies

1 - Documents required for the                     0
disbursal and for the renewal
procedure for the prisoner:

a) A signed Red Cross certificate with 0
a recent date, and for sentenced
prisoners, a Red Cross certificate
stating the period of the sentence and
the verdict itself, in Hebrew.

2 – The financial settlement                       0

a) A signed Red Cross document with 0
the date of arrest, date of release and
verdict, in Hebrew, or administrative
documents for prisoners sentenced to
administrative detention, is required.

Actions
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Action                                 Period of time

1 - The requests for renewal The completion of
and financial settlements are this procedure will
received from the branch       require over two
bureaus. Lists and reports are weeks between the
prepared for the Legal         verification,
Department for approval,       authorization and
after which they are sent to allocation
the Salaries Department for
execution. Next, they are
sent to oversight by the
Salaries Department.


Fees

Amount                                             Fees


Questions and comments may be referred to:
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Organization              Phone number                              E-mail

The General
Directorate for
Prisoners and
Ex-Prisoners

Forms

Form

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I, Yaniv Berman, declare pursuant to 28 U.S.C. §1746, as follows:

       1.      I am a professional translator with an M.A. degree in Middle Eastern Studies from

the Hebrew University of Jerusalem (Israel). I read Arabic and English fluently, and I am

capable of translating accurately between Arabic and English.

       2.      The foregoing pages contains an accurate translation into English of the Arabic

document attached.

       3.      I declare under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct.


Executed at Kfar Saba, Israel on 4 November 2020.
                                                                  Yaniv Berman
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   ‫•‬   ‫‪English‬‬




                                                                                  ‫•‬      ‫االمانة العامة‬
                                                                                         ‫‪Y‬‬




                                                                             ‫•‬        ‫جلسات وقرارات‬



                                                                             ‫•‬        ‫المركز اإلعالمي‬



                                                                         ‫•‬       ‫استراتيجية الحكومة‬



                                                                             ‫•‬        ‫دراسات ومقاالت‬



                                                                         ‫•‬       ‫الخدمات اإللكترونية‬



                                                                         ‫•‬       ‫البروتوكول الصحي‬



                                                                                        ‫•‬        ‫اتصل بنا‬

                                                                                             ‫•‬     ‫الرئيسية‬




‫‪http://www.palestinecabinet.gov.ps/portal/GovService/Details/754‬‬                                   ‫‪1‬‬
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                                                                                                          ‫•‬     ‫دليل الخدمات‬




                                                                                                           ‫•‬    ‫منحة اإلفراج‬


                                            ‫•‬         ‫منحة اإلفراج‬

                                                                                                ‫الجهة المقدمة للخدمة‬
                                                                             ‫االدارة العامة لشؤون األسرى والمحررين‬
                                                                                                        ‫الفئة المستفيدة‬
                                                                   ‫األسرى المحررين والذين قضوا سنة في السجن فأكثر‬
                                                                                                   ‫الموقع اإللكتروني‬
                                                                                                       ‫وصف الخدمة‬
                                                                                 ‫خدمة تصرف لالسير المحرر (كنفقة)‬
                                                                                           ‫أماكن وفروع تقديم الخدمة‬

    ‫•‬   ‫مقر الهيئة (محافظة رام هللا والبيرة)‪ -‬المديريات (رام هللا ‪ -‬القدس ‪ -‬الخليل ‪ -‬بيت لحم ‪ -‬نابلس ‪ -‬جنين ‪ -‬طولكرم‪-‬‬
                          ‫قلقيلية ‪ -‬سلفيت ‪ -‬طوباس ‪ -‬أريحا) باإلضافة إلى مديريات المحافظات الجنوبية (قطاع غزة)‬

                                                                                                ‫شروط الحصول على الخدمة‬

                                            ‫•‬    ‫‪ .‬أن يكون األسير المحرر قضى عاما فأكثر في السجون االسرائيلية‪1-‬‬
                                                                                 ‫•‬       ‫أن يكون حكم على قضية امنيه ‪2-‬‬
                                                          ‫•‬     ‫‪ .‬أن يقوم األسير بإحضار المعززات الالزمة للصرف ‪3-‬‬
                                                                             ‫•‬   ‫احضار شهادة صليب اصلية لألسير ‪4-‬‬
                                                                                     ‫•‬        ‫احضار الئحة اتهام واضحة ‪5-‬‬
                                                                                          ‫•‬     ‫احضار قرار حكم واضح‪6-‬‬
                                                                                                 ‫•‬   ‫صورة هوية االسير‪7-‬‬
                                                      ‫•‬       ‫كتاب من البنك موضح فيه رقم الحساب وااليبان بالدوالر‪8-‬‬

                                                                                                          ‫الوثائق المطلوبة‬

                                                                   ‫الوثيقة‬                                     ‫عدد النسخ‬


    ‫شهادة صليب اصلية‪1-‬‬                                                       ‫‪1‬‬


    ‫الئحة اتهام واضحة‪2-‬‬                                                      ‫‪1‬‬




‫‪http://www.palestinecabinet.gov.ps/portal/GovService/Details/754‬‬                                                    ‫‪2‬‬
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                                                               ‫الوثيقة‬                             ‫عدد النسخ‬


    ‫قرار حكم واضح‪3-‬‬                                                       ‫‪1‬‬


    ‫صورة هوية االسير‪4-‬‬                                                    ‫‪1‬‬


    ‫حساب بنكي لالسير وايبان دوالر‪5-‬‬                                       ‫‪1‬‬

                                                                                                     ‫اإلجراءات‬
                                                                                   ‫اإلجراء‬       ‫المدة الزمنية‬


    ‫يتم استالم الوثائق الالزمو المطلوبة من االسير او ذويه‪1-‬‬                                  ‫‪0‬‬


    ‫تدقيق معامالت المديريات‪2-‬‬                                                                ‫‪0‬‬


    ‫ارسالها في كشوفات موضح فيها األسماء ومرفقة بالملفات لكل اسير‪3-‬‬                           ‫‪0‬‬


    ‫يتم فرز المنح وفق لسنوات االفراج‪4-‬‬                                                       ‫‪0‬‬


    ‫يتم عمل كشوفات وقوائم لكل فئة من المنح‪5-‬‬                                                 ‫‪0‬‬


    ‫ترفع الكشوفات للدائرة القانونية للتأكد من أمنية السجنة‪6-‬‬                                 ‫‪0‬‬


    ‫ترفع كشوفات باالسماء لصرفها الى الدائرة المالية‪7-‬‬                                        ‫‪0‬‬


    ‫يتم صرف المنح لحواالت بنكية فقط لالسير نفسه‪8-‬‬                                            ‫‪0‬‬


    ‫تصرف المنح بشيكات شخصية لالسير في بعض الحاالت وتحول الى قريب درجة أولى ‪9-‬‬                ‫‪0‬‬
    ‫كاألب او الشقيق‬

                                                                                                        ‫الرسوم‬




‫‪http://www.palestinecabinet.gov.ps/portal/GovService/Details/754‬‬                                         ‫‪3‬‬
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                               ‫الرسوم‬                                                                          ‫المبلغ‬


    ‫مجانا‬


    ‫مجانا‬                                   ‫‪0‬‬

                                                                                             ‫الجهة المختصة لإلستفسار‬
                                     ‫الجهة‬                      ‫الهاتف‬                              ‫البريد اإللكتروني‬


    ‫االدارة العامة لشؤون األسرى والمحررين‬       ‫‪2408604‬‬

                                                                                                               ‫النماذج‬
                                                                                                            ‫النموذج‬


    ‫منحة اإلفراج‬


                                                                                   ‫•‬        ‫قرارات مجلس الوزراء‬

                                                 ‫•‬   ‫قرارات جلسة مجلس الورزاء رقم (‪ )80‬بتاريخ ‪26/10/2020‬م‬

                                                 ‫•‬   ‫قرارات جلسة مجلس الوزراء رقم (‪ )79‬بتاريخ ‪19/10/2020‬م‬

                                                 ‫•‬   ‫قرارات جلسة مجلس الوزراء رقم (‪ )78‬بتاريخ ‪12/10/2020‬م‬

                                                 ‫•‬   ‫قرارات جلسة مجلس الوزراء رقم (‪ )77‬بتاريخ ‪07/10/2020‬م‬


                                                                                                                ‫المزيد‬
                                                                                             ‫•‬        ‫خطط الحكومة‬

                                                                             ‫•‬    ‫خطة تنمية العنقود الزراعي في قلقيلية‬

                                                                         ‫•‬       ‫أجندة السياسات الوطنية ‪2022-2017‬‬

                         ‫•‬   ‫الخطة الوطنية الفلسطينية لإلنعاش المبكر وإعادة اإلعمار في غزة لعامي ‪2010- 2009‬‬

                                                           ‫•‬   ‫خطة اإلصالح والتنمية الفلسطينية ‪2008 – 2010‬‬




‫‪http://www.palestinecabinet.gov.ps/portal/GovService/Details/754‬‬                                                ‫‪4‬‬
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                                                                                          ‫المزيد‬

                                          ‫•‬   ‫الصفحة الرئيسية‬



                                              ‫•‬   ‫اتصل بنا‬

                      ‫‪.‬حقوق التأليف والنشر © ‪ 2020‬االمانة العامة لمجلس الوزراء‬
                                       ‫‪.‬جميع الحقوق محفوظة‬




‫‪http://www.palestinecabinet.gov.ps/portal/GovService/Details/754‬‬                          ‫‪5‬‬
